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SNELL & WILMER L.L.P.
Alan L. Sullivan (3152)
Todd M. Shaughnessy (6651)
Amy F. Sorenson (8947)
15 West South Temple, Suite 1200
Salt Lake City, Utah 84101-1004
Telephone: (801) 257-1900
Facsimile: (801) 257-1800

CRAVATH, SWAINE & MOORE LLP
Evan R. Chesler (admitted pro hac vice)
David R. Marriott (7572)
Worldwide Plaza
825 Eighth Avenue
New York, New York 10019
Telephone: (212) 474-1000
Facsimile: (212) 474-3700

Attorneys for Defendant/Counterclaim-Plaintiff
  International Business Machines Corporation


                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF UTAH


THE SCO GROUP, INC.,                             [PROPOSED] ORDER GRANTING
                                                  IBM’S MOTION FOR SUMMARY
        Plaintiff/Counterclaim-Defendant,             JUDGMENT ON SCO’S
                                                 INTERFERENCE CLAIMS (SCO’S
v.                                                SEVENTH, EIGHTH AND NINTH
                                                      CAUSES OF ACTIONS)
INTERNATIONAL BUSINESS MACHINES
CORPORATION,                                        Civil No. 2:03CV-0294 DAK

                                                     Honorable Dale A. Kimball
        Defendant/Counterclaim-Plaintiff.

                                                  Magistrate Judge Brooke C. Wells
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       Based on the submissions of the parties, such argument as was presented at hearing, and

good cause appearing therefore,

       IT IS HEREBY ORDERED that IBM’s Motion for Summary Judgment on SCO’s

Interference Claims (SCO’s Seventh, Eighth and Ninth Causes of Action) is granted in its

entirety with prejudice.

       DATED this ____ day of _____________, 2006.

                                               BY THE COURT



                                               ____________________________
                                               Dale A. Kimball
                                               United States District Court Judge




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                                    CERTIFICATE OF SERVICE


           I hereby certify that on the 25th day of September, 2006, a true and correct copy of the

foregoing was electronically filed with the Clerk of the Court and delivered by CM/ECF system

to the following:

                  Brent O. Hatch
                  Mark F. James
                  HATCH, JAMES & DODGE, P.C.
                  10 West Broadway, Suite 400
                  Salt Lake City, Utah 84101

                  Stephen N. Zack
                  Mark J. Heise
                  BOIES, SCHILLER & FLEXNER LLP
                  100 Southeast Second Street, Suite 2800
                  Miami, Florida 33131

           and by U.S. Mail, postage pre-paid to:

                  Robert Silver
                  Edward Normand
                  BOIES, SCHILLER & FLEXNER LLP
                  333 Main Street
                  Armonk, New York 10504


                                                 /s/ Amy F. Sorenson




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